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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 Don Zimmerman, Michael Cargill,
 and Mario Jordan,

        Plaintiffs,
 vs.                                                          Cause No. 1:12-cv-00972

 Travis County Healthcare District,                                      JURY

       Defendant.                                        Emergency Stay and Restraining
                                                                    Order




       BE IT REMEMBERED, that on this day, Plaintiffs presented their case before this

Court. Given the nature of the allegations of failure to preclear the language put on the

ballot, and under the relevant laws requiring a stay, Plaintiff’s request for a stay of this

ballot proposition until a three-judge panel can review it is GRANTED. Further, given

the nature of the changes and the potential for violation of Plaintiffs’ due process rights,

the District is restrained from any implementation of this ballot proposition until its

language can be ruled on by a court with appropriate jurisdiction.

IT IS SO ORDERED, this _______ day of October, 2012.



                                                     ___________________________________
                                                     Hon. U.S. District Judge




                ORDER GRANTING STAY AND INJUNCTIVE RELIEF – ZIMMERMAN, ET. AL. V. TCHD - PAGE 1 OF 1
